
This was an ejectment, brought in the District Court of Suffolk, by the lessee of the appellees against the appellants.
The parties agreed the following case, to wit.
“ That William Hunter, the former proprietor of the land in question, by his will dated in 1764, devised the same to Elisabeth, his widow, during her natural life ; and after her decease, to his nephew, Thomas Haynes, and the heirs of his body lawfully begotten for ever ; but in case his said nephew should die without such issue, then to Thomas Hunter, brother of the testator, and his heirs for ever,”
“ That the said Thomas Haynes died in June 1780s under age, intestate and without issue.”
e{ That Elizabeth the widow, died on the 14th December, 1786.”
“ That the defendants are the widow and children of the said Thomas Hunter, the last remainder-man.”
* ‘ That the lessor of the plaintiff is the cousin of the whole blood, and heir at law to the said Thomas Haynes, the first remainder-man,” and if &amp;c.
The District Courtgave judgment, upon this agreed case for the lessor of the plaintiff, from which the defendants appealed to this Court.
The appellants being called, and not appearing, the Court, upon inspecting the record,
Affirmed the judgment.(1)

 Carter v. Tyler, 1 Call. 185. Timberlake, et. ux. v. Graves, 6 Munf. 174.

